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                                                     EXHIBIT B
                                 SUMMARY OF THIRTY-FIFTH INTERIM FEE APPLICATION
                                 OF BAKER & HOSTETLER LLP FOR SERVICES RENDERED
                                  FROM AUGUST 1, 2020 THROUGH NOVEMBER 30, 2020

                                                           YEAR       HOURLY      TOTAL HOURS    TOTAL
SUMMARY CLASS        NAME                                ADMITTED      RATE          BILLED   COMPENSATION
Partners and of
Counsel               Picard, Irving H.                        1966    1,023.00         234.60      239,995.80
                      Sheehan, David J.                        1968    1,023.00         613.40      627,508.20
                      Matthias, Michael R.                     1973      765.00          51.00       39,015.00
                      Bash, Brian A.                           1975      824.00          63.10       51,994.40
                      Greene, Bruce R.                         1976      841.00          37.90       31,873.90
                      Long, Thomas L.                          1976    1,017.00         441.60      449,107.20
                      Ponto, Geraldine E.                      1982    1,023.00         538.30      550,680.90
                      Hutchins, Elaine A.                      1983      697.00          14.60       10,176.20
                      Montesano, Carmela T.                    1984      743.00           5.90        4,383.70
                      Smith, Elizabeth A.                      1985      930.00          19.40       18,042.00
                      Hunt, Dean D.                            1991      932.99         279.20      260,491.20
                      Goldberg, Steven H.                      1991    1,023.00          82.50       84,397.50
                      Douthett, Breaden M.                     1991      515.00           2.10        1,081.50
                      Griffin, Regina L.                       1993    1,023.00         486.30      497,484.90
                      Thomas, Erika K.                         1994      783.00         567.50      444,352.50
                      Cole, Tracy L.                           1996      928.00         533.30      494,902.40
                      Murphy, Keith R.                         1997    1,023.00         435.40      445,414.20
                      Hoang, Lan                               1997    1,000.30         888.20      888,470.40
                      Rollinson, James H.                      1998      892.00          23.30       20,783.60
                      Warshavsky, Oren J.                      1998    1,023.00         669.10      684,489.30
                      New, Jonathan B.                         1998    1,023.00          27.60       28,234.80
                      Fish, Eric R.                            1998      887.00         344.80      305,837.60
                      Clark, Eben P.                           1998      555.00          49.70       27,583.50
                      Rose, Jorian L.                          1998    1,005.00         232.60      233,763.00
                      Pergament, Benjamin D.                   1999      854.17         534.00      456,126.00
                      Bohorquez, Fernando A.                   2000      948.00         303.30      287,528.40
                      Cremona, Nicholas J.                     2000    1,005.00         804.60      808,623.00
                      Beckerlegge, Robertson D.                2001      795.98         693.60      552,090.20
                      Bell, Stacey A.                          2001      868.09         606.30      526,323.40
                      Zeballos, Gonzalo S.                     2001      925.00          93.90       86,857.50
                      North, Geoffrey A.                       2002      892.00         726.70      648,216.40
                      Song, Brian W.                           2002      790.01         486.00      383,943.00
                      Shields, Nkosi D.                        2003      663.88         422.50      280,491.00
                      Malchow, Jessica P.                      2003      472.00          25.90       12,224.80
                      Sherer, James A.                         2003      728.00          13.30        9,682.40
                      Hochmuth, Farrell A.                     2003      636.73         212.60      135,368.00
                      Oliver, Jason S.                         2003      800.71         615.60      492,918.40
                      Proano, David F.                         2005      466.00          41.90       19,525.40
                      Allen, Brian F.                          2005      694.26         265.10      184,047.80
                      Feil, Matthew D.                         2006      694.11         460.90      319,916.30
                      Carlisle, Marie L.                       2006      604.78         507.90      307,166.60
                      Vanderwal, Amy E.                        2006      892.00         687.60      613,339.20
                      Longstaff, Carrie                        2006      712.39         450.50      320,930.40
                      Kosack, Melissa L.                       2006      743.00         779.60      579,242.80
                      Wasick, Joanna F.                        2007      839.79         583.20      489,765.00
                      Brown, Seanna R.                         2007    1,005.00         708.00      711,540.00
                      Calvani, Torello H.                      2007      790.12         376.20      297,243.60
                      Giuliani, Esterina                       2007      892.00         660.20      588,898.40
                      Patel, Tayan B.                          2007      610.00          14.30        8,723.00
                      Forman, Jonathan A.                      2007      704.00         239.10      168,326.40
                      Zunno-Freaney, Kathryn M.                2008      892.00         195.30      174,207.60
                      Attard, Lauren T.                        2008      641.35         258.00      165,469.40
                      Usitalo, Michelle R.                     2008      658.17         496.10      326,520.00
                      McCurrach, Elizabeth G.                  2008      696.02         425.00      295,806.40
                      Markel, Tatiana                          2009      743.00         657.40      488,448.20
                      Campbell, Patrick T.                     2009      712.00         153.60      109,363.20
                      Shapiro, Peter B.                        2009      676.71         587.90      397,839.00
                      Molina, Marco                            2009      743.00         204.90      152,240.70
                      Iannuzzi, Michael M.                     2010      526.00          17.80        9,362.80
                      Bent, Camille C.                         2010      633.35         494.90      313,444.20
                      Shifrin, Maximillian S.                  2011      605.53         105.50       63,883.50
                      Wangsgard, Kendall E.                    2011      599.00          28.50       17,071.50
                      Crook, Darren A.                         2011      368.00         145.10       53,396.80
                      Krishna, Ganesh                          2011      621.10         603.70      374,961.00
                      Hough, Shawn P.                          2012      618.16         540.00      333,808.90
Partners and of Counsel Total                                            831.08      22,867.90   19,004,944.30
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                                                       YEAR       HOURLY      TOTAL HOURS      TOTAL
SUMMARY CLASS   NAME                                 ADMITTED      RATE          BILLED     COMPENSATION
Associates      Meisels, Naomi P.                          1984      642.00           66.90      42,949.80
                Bieler, Philip                             1994      545.60          535.50     292,166.70
                Kates, Elyssa S.                           2000      725.00           10.60       7,685.00
                Wlodek, Heather                            2003      720.05          420.30     302,635.00
                Hiatt, Eric B.                             2005      620.00          229.60     142,352.00
                Cowherd, Matthew K.                        2005      561.40          142.90      80,224.10
                Mezibov, Jonathan G.                       2006      267.00          681.40     181,933.80
                Goldmark, Jena B.                          2007      523.87          649.60     340,306.50
                Sabella, Michael A.                        2008      578.00          561.40     324,489.20
                Choi, David                                2008      620.00          377.50     234,050.00
                Khan, Ferve E.                             2009      685.48          453.60     310,932.00
                Nickodem, Robert G.                        2009      274.00          606.30     166,126.20
                Perkins Austin, Francesca                  2009      604.00           87.30      52,729.20
                Mattera, Marshall J.                       2009      620.00          777.70     482,174.00
                McGourty, Cara                             2010      599.00          511.20     306,208.80
                Rollins, Jennifer B.                       2010      267.00          520.30     138,920.10
                Biondo, Lindsay J.                         2010      274.00          698.90     191,498.60
                Maytal, Anat                               2010      646.81          628.60     406,582.40
                Ubaid, Maryland H.                         2010      274.00          595.40     163,139.60
                Boga-Lofaro, Csilla                        2010      504.00            3.80       1,915.20
                Rouach, Sophie                             2010      487.00          178.60      86,978.20
                Hansford, Melissa L.                       2010      274.00          507.40     139,027.60
                Mahida, Michelle Marie Hoff                2010      267.00          578.50     154,459.50
                Bernard, Zachary E.                        2010      482.00            5.80       2,795.60
                Chandler, Tara R.                          2010      274.00          728.90     199,718.60
                White, Jason T.                            2011      274.00          700.10     191,827.40
                Oliva, Frank M.                            2011      634.17          628.10     398,319.70
                Durbin, Damon M.                           2011      310.00           77.40      23,994.00
                Gottesman, Joel D.                         2011      274.00          458.10     125,519.40
                Blanchard, Jason I.                        2011      623.98          581.70     362,969.90
                Patrick, Stacey M.                         2011      274.00          709.30     194,348.20
                Barhorst, Damon C.                         2011      267.00           10.50       2,803.50
                Vonderhaar, Douglas A.                     2011      331.00           33.20      10,989.20
                Rose, Nicholas M.                          2011      599.00          531.40     318,308.60
                Feldstein, Robyn M.                        2011      578.00          160.30      92,653.40
                Slavin, Jeffrey A.                         2011      502.00           29.30      14,708.60
                Rice, David W.                             2012      578.00          338.30     195,537.40
                Ackerman, Stephanie                        2012      565.85          811.10     458,961.30
                Gallagher, Christopher B.                  2012      637.29          521.90     332,602.60
                Tanney, Michelle N.                        2013      559.18          434.00     242,684.40
                Friedman, Matthew B.                       2013      551.00          451.60     248,831.60
                Charlemagne, Chardaie C.                   2013      599.66           92.40      55,408.40
                Sterling, Nichole L.                       2013      494.00           26.40      13,041.60
                Mosher, Sarah E.                           2013      267.00          581.90     155,367.30
                Gillingham, Ross M.                        2013      267.00          746.90     199,422.30
                Brumbach, Maxim G.                         2013      267.00          564.50     150,721.50
                Goertemiller, Noah J.                      2014      267.00          613.10     163,697.70
                Horning, Nathan T.                         2014      274.00          669.40     183,415.60
                Kennedy, Joyce R.                          2015      274.00          608.30     166,674.20
                Serrao, Andrew M.                          2015      518.75          213.70     110,856.50
                Turner, Tara E.                            2015      512.60          806.20     413,255.80
                Weinberg, Lauren R.                        2015      509.00           66.40      33,797.60
                Nadworny, Bari R.                          2016      494.00           67.80      33,493.20
                Cantu, Michael R.                          2016      274.00          731.10     200,321.40
                Miguel, Nickoli X.                         2016      274.00          664.80     182,155.20
                Molony, Matthew E.                         2016      267.00          711.10     189,863.70
                Stewart, Matthew L.                        2016      267.00          689.90     184,203.30
                Shalodi, Amani                             2016      274.00          717.40     196,567.60
                Berry, Joshua L.                           2016      267.00          581.50     155,260.50
                Martin, Lauren E.                          2016      267.00          628.90     167,916.30
                Alonso, Carolina A.                        2016      446.00            5.90       2,631.40
                Maw, Darley                                2017      542.32          416.40     225,823.70
                Satter, Joshua A.                          2017      565.00          563.60     318,434.00
                Dindiyal, Ariana G.                        2017      446.00          624.70     278,616.20
                Stork, Victoria L.                         2017      515.33          505.50     260,499.30
                Wafelbakker, Tess N.                       2018      349.00            7.50       2,617.50
                Fischetti, Chloe S.                        2018      437.00           88.40      38,630.80
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                                                                YEAR        HOURLY      TOTAL HOURS       TOTAL
SUMMARY CLASS          NAME                                   ADMITTED       RATE          BILLED     COMPENSATION
Associates             Williams, Briana D.                           2018      395.00          422.80      167,006.00
                       Yantis, Brittany A.                           2019      431.00          163.60       70,511.60
                       Bordner, Alexa T.                             2019      441.00          119.80       52,831.80
                       Gotsis, Christina O.                          2019      431.00          479.00      206,449.00
                       Corrigan, Megan A.                            2019      431.00          313.90      135,290.90
                       Silversmith, Jordan R.                        2019      431.00          215.40       92,837.40
                       Sternbach, Lauren E.                          2020      441.00          479.80      211,591.80
                       Waldrop, Patrick R.                           2020      441.00            9.40        4,145.40
                       Van Duyn, Audrey J.                           2020      441.00          612.10      269,936.10
                       Cardenas, Samantha A.                    #N/A           267.00          551.50      147,250.50
Associates Total                                                               413.87       32,395.30   13,407,600.00
                                                                YEAR        HOURLY      TOTAL HOURS       TOTAL
SUMMARY CLASS           NAME                                  ADMITTED       RATE          BILLED     COMPENSATION
Paralegals, Clerks,
Library Staff and
Other Non-Legal Staff Graham, Sonya M.                          #N/A           289.00           16.10         4,652.90
                        Montani, Christine A.                   #N/A           377.00          466.60       175,908.20
                        Bookout, Kimberly M.                    #N/A           252.00            8.50         2,142.00
                        Iskhakova, Yuliya                       #N/A           390.00          845.90       329,901.00
                        Marshall, Amanda S.                     #N/A           205.00            7.00         1,435.00
                        Gibbons, Michael E.                     #N/A           413.00            9.60         3,964.80
                        Landrio, Nikki M.                       #N/A           407.00          668.80       272,201.60
                        Nunes, Silas T.                         #N/A           333.00          119.70        39,860.10
                        von Collande, Constance M.              #N/A           372.00          537.00       199,764.00
                        Blaber, Theresa A.                      #N/A           367.00           24.20         8,881.40
                        Stone, Adrian                           #N/A           330.00          359.40       118,602.00
                        Bryan, Katrina E.                       #N/A           359.00          666.50       239,273.50
                        McIntosh, Casey                         #N/A           218.00          108.10        23,565.80
                        Monge, Tirsa                            #N/A           377.00          300.10       113,137.70
                        Cabrera, Ramon C.                       #N/A           295.00          119.00        35,105.00
                        Bekier, James M.                        #N/A           480.00          317.50       152,400.00
                        Fishelman, Benjamin D.                  #N/A           459.00          320.80       147,247.20
                        Godsen, Brian J.                        #N/A           185.00            6.00         1,110.00
                        Szalay, Sarah M.                        #N/A           211.00          182.00        38,402.00
                        Glanzman, Adam J.                       #N/A           378.00          113.70        42,978.60
                        Villamayor, Fidentino L.                #N/A           395.00          387.20       152,944.00
                        Oliver-Weeks, Marcella J.               #N/A           434.00          651.70       282,837.80
                        LaFalce, Stephen P.                     #N/A           195.00            8.00         1,560.00
                        Dangelmajer, Susan E.                   #N/A           365.00          271.50        99,097.50
                        Kinne, Tanya M.                         #N/A           360.00          478.50       172,260.00
                        Polanco Ortiz, Dorian A.                #N/A           285.00           14.00         3,990.00
                        Chan, Angeline                          #N/A           281.00          354.10        99,502.10
                        Dyer, Ricky J.                          #N/A           240.00           26.30         6,312.00
                        McKenna, Patrice M.                     #N/A           299.00          539.50       161,310.50
                        Chamberlain, David R.                   #N/A           180.00           12.00         2,160.00
Paralegals, Clerks, Library Staff and Other Non-Legal Staff                    369.37        7,939.30     2,932,506.70
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                                                                                     BLENDED       TOTAL HOURS       TOTAL
PROFESSIONALS                                                                          RATE           BILLED     COMPENSATION
Partners and of Counsel Total                                                            831.08        22,867.90   19,004,944.30
Associates Total                                                                         413.87        32,395.30   13,407,600.00


Paralegals, Clerks, Library Staff and Other Non-Legal Staff Total                         369.37         7,939.30      2,932,506.70
Blended Attorney Rate                                                                     586.51


Total Fees Incurred                                                                                     63,202.50     35,345,051.00

                                                                    Less 10% Public Interest Discount                  (3,534,505.10)

                                                                    Grand Total                                     $ 31,810,545.90
